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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

STONE STRONG, LLC                 §
                                  §
VS.                               §    ACTION NO. 4:22-CV-616-Y
                                  §
FIRST FINANCIAL BANK, NA          §

                            FINAL JUDGMENT

        In response to Plaintiff’s Notice of Voluntary Dismissal

Without Prejudice (doc. no. 8), and in accordance with Federal

Rule of Civil Procedure 58, Plaintiff's claim against Defendant in

this action is hereby DISMISSED WITHOUT PREJUDICE.           All costs of

Court under 28 U.S.C. § 1920 shall be borne by the party incurring

same.

        SIGNED on August 23, 2022.


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                                  TERRY R. MEANS
                                  UNITED STATES DISTRICT JUDGE
